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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,                No. SA CR 14-00034-JLS

12              Plaintiff,                    PERSONAL MONEY JUDGMENT OF
                                              FORFEITURE
13                    v.

14   MICHAEL D. DROBOT,

15              Defendant.

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17         Pursuant to the Stipulation and request of the parties filed in
18   this matter on January 5, 2018, the Court hereby finds and orders as
19   follows:
20         1.   On February 20, 2014, defendant entered into a plea
21   agreement in the case captioned United States v. Michael D. Drobot,
22   No. SA CR 14-034-JLS, pursuant to which he agreed to plead guilty to
23   conspiracy, in violation of 18 U.S.C. § 371, and Payment of Kickbacks
24   in Connection with a Federal Health Care Program, in violation of 42
25   U.S.C. § 1320a-7b(b)(2)(A).       (CR 7.)
26         2.   Pursuant to his plea agreement, defendant agreed to forfeit
27   all “right title, and interest” in assets “derived from or acquired
28   as a result of, or used to facilitate the commission of, defendant’s
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 1   illegal activities.”      (Id. at ¶ 3(a).)     Defendant further agreed

 2   “[t]o the Court’s entry of an order of forfeiture at or before

 3   sentencing with respect to these assets and to the forfeiture of the

 4   assets.”   (Id. at ¶ 3(b).)

 5         3.   The entry of a judgment of forfeiture is specifically

 6   authorized by Rule 32.2 of the Federal Rules of Criminal Procedure

 7   and is part of the defendant’s sentence.         Rule 32.2(c)(1) provides

 8   that “no ancillary proceeding is required to the extent that the

 9   forfeiture consists of a money judgment.”

10         4.   Pursuant to the stipulation, defendant expressly waived the

11   requirements of Federal Rules of Criminal Procedure 32.2. and 43(a)

12   regarding notice of forfeiture in the charging instrument,

13   pronouncement of forfeiture at sentencing, and incorporation of

14   forfeiture in the personal money judgment of forfeiture.            Defendant

15   further agreed to immediate entry of the Judgment, and that the

16   personal money judgment of forfeiture shall become final as to him

17   upon entry.

18         5.   A personal money judgment of forfeiture in the amount of

19   $10,000,000.00 (ten million dollars) is HEREBY ENTERED in favor of

20   the United States of America against defendant Michael D. Drobot,

21   subject to the following terms:

22              a.    By a date agreed to by defendant and the United States

23   Attorney’s Office (“USAO”), pay the USAO the sum of $300,000 by ACH

24   deposit pursuant to instructions to be provided by the USAO.

25              b.    By January 19, 2018, to the extent such liens are not

26   already in place, enter liens in the favor of the USAO on all

27   properties in Oregon owner by defendant (collectively, the “Oregon

28   properties”).    By a date agreed to by defendant and the USAO, sell
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 1   the Oregon properties and pay all net proceeds (gross proceeds less

 2   taxes, costs, and other normal and customary costs associated with

 3   the sale) to the USAO by ACH deposit pursuant to instructions to be

 4   provided by the USAO.

 5              c.    By a date agreed to by defendant and the USAO, sell

 6   defendant’s 1965 Aston Martin, 1958 Porsche, and 1971 Mercedes Benz,

 7   and pay the proceeds to the USAO by ACH deposit pursuant to

 8   instructions to be provided by the USAO.

 9         6.   This personal money judgment of forfeiture is part of the

10   sentence imposed on defendant in this case.

11         7.   This Court shall retain jurisdiction for the purpose of

12   enforcing this personal money judgment of forfeiture.           The government

13   shall notify the Court upon defendant’s satisfaction of his

14   obligations under this judgment.

15         IT IS SO ORDERED.

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17
     January 10, 2018
18   DATE                                    HONORABLE JOSEPHINE L. STATON
                                             UNITED STATES DISTRICT JUDGE
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